               Case 09-34791-PGH                Doc 1631      Filed 04/19/11        Page 1 of 9



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 (FORT LAUDERDALE DIVISION)
                                      www.flsb.uscourts.gov

In re                                                                 CASE NO. 09-34791-BKC-RBR
                                                                      CHAPTER 11
ROTHSTEIN ROSENFELDT
ADLER, P.A.,

        Debtor.
                                            /

                    NOTICE OF CANCELLATION WITHOUT PREJUDICE
                        OF 2004 EXAMINATION OF IRA SOCHET 1

        The Plaintiff, HERBERT STETTIN (the “Trustee” or “Stettin”), not individually but as

Chapter 11 Trustee of the estate of RRA, Rothstein Rosenfeldt Adler P.A. (the “Debtor” or

“RRA) hereby states that the following examination is cancelled without prejudice:

     NAME OF WITNESS                   DATE & TIME                             LOCATION
                                                                 Genovese Joblove & Battista, P.A.
                                         April 22, 2011          Miami Tower
    IRA SOCHET                                                   100 S.E. 2nd Street, 44th Floor
                                       10:00 A.M. EST.
                                                                 Miami, Florida 33131

Respectfully submitted this 19th day of April, 2011.

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                                                     Fax.: (305) 349-2310

                                                     By:     /s/ John H. Genovese
                                                           John H. Genovese, Esq.
                                                           Florida Bar No. 280852
                                                           David C. Cimo, Esq.
                                                           Florida Bar No. 775400


1
  The foregoing examination has been cancelled upon agreement of the parties and is cancelled without prejudice to
the Trustee re-noticing the examination for a later date.
              Case 09-34791-PGH      Doc 1631     Filed 04/19/11    Page 2 of 9



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 19th of April, 2011, a copy of the foregoing was

served electronically via CM/ECF and/or by first class U.S. Mail to the parties listed on the

attached service list.


                                          By: /s/ John H. Genovese
                                                  John H. Genovese, Esq.




                                             2
            Case 09-34791-PGH        Doc 1631   Filed 04/19/11    Page 3 of 9

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2441794-1
             Case 09-34791-PGH      Doc 1631   Filed 04/19/11    Page 4 of 9

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2441794-1                                  2
             Case 09-34791-PGH           Doc 1631   Filed 04/19/11    Page 5 of 9

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2441794-1                                      3
             Case 09-34791-PGH        Doc 1631   Filed 04/19/11    Page 6 of 9

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2441794-1                                   4
             Case 09-34791-PGH         Doc 1631   Filed 04/19/11    Page 7 of 9

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2441794-1                                     5
            Case 09-34791-PGH         Doc 1631    Filed 04/19/11    Page 8 of 9

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2441794-1                                     6
            Case 09-34791-PGH           Doc 1631   Filed 04/19/11    Page 9 of 9

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2441794-1                                     7
